                       Case 1-18-42804-nhl                           Doc 2    Filed 05/15/18     Entered 05/15/18 23:11:19



 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
         ---------------------------------------------X                              Chapter     7
 IN RE:  Christopher L Shane
                                                                                     Case No.:

                                      Debtor(s)                                      STATEMENT PURSUANT TO LOCAL RULE 2017
                  ---------------------------------------------X

I, Lorna LaMotte, an attorney admitted to practice in this Court, state:

1. That I am the attorney for the above-named debtor(s) and am fully familiar with the facts herein.

2. That prior to the filing of the petition herein, my firm rendered the following services to the
   above-named debtor(s):

                                      Date\Time                              Services

                                                                             Initial interview, analysis of financial
                                      4/4/18 - 1.25 hours                    condition, etc.

                                      5/8/18 and 5/12/18 - 4.5               Preparation and review of
                                      hour                                   Bankruptcy petition

3. That my firm will also represent the debtor(s) at the first meeting of creditors.

4. That all services rendered prior to the filing of the petition herein were rendered by my firm.

5. That my usual rate of compensation of bankruptcy matters of this type is $                                           1,900.00   .

Dated: 5/12/18

                                                                        /s/ Lorna J LaMotte
                                                                        Lorna LaMotte
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